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  July 24, 2019


  By Electronic Filing

  Hon. LeShann DeArcy Hall
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Re:    Omar v. 1 Front Street Grimaldi’s, et al., 16-cv-05824 (LDH) (CLP)

  Dear Judge DeArcy Hall:

          My firm was recently retained to represent newly-added Defendant Brooklyn Pizzeria,
  Inc. (“Brooklyn Pizzeria”), in the above captioned action. I write to request a 60-day
  adjournment of the current deadline for Brooklyn Pizzeria to respond to the Fourth Amended
  Complaint. The current deadline is July 29, 2019, and Brooklyn Pizzeria requests an
  adjournment until September 27, 2019. The reason for the request is two-fold. First, while
  this case has been pending for nearly three years, Brooklyn Pizzeria only very recently became
  party to the case (it received service from the New York Secretary of State on July 12, 2019),
  and this firm was retained even more recently than that. We request the extension to give us
  time to fully acquaint ourselves with the substantial factual and procedural history of the case.
  Second, we request the extension to accommodate the pre-existing vacation schedules both of
  counsel and of key personnel of our client Brooklyn Pizzeria. In particular, our primary client
  contact is out of the country for approximately three weeks as of today, which will make it
  difficult to gather the necessary information to make a fully informed response to the Fourth
  Amended Complaint without the requested extension.

         This is Brooklyn Pizzeria’s first request for an extension of time. We have discussed
  our request with Plaintiff’s counsel, who is willing to consent to a 30-day extension (i.e., until
  August 28, 2019), but does not consent to a 60-day extension. Plaintiff’s counsel asserts that
  60 days will cause an unreasonable delay. The requested extension will not affect any other
  scheduled dates in the case.

         Please feel free to contact me should you have any questions.
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  Respectfully,

  ___/s/ Joseph Slaughter_______
  Joseph Slaughter

  JS/mm
